         Case: 25-1593     Document: 3       Page: 1         Date Filed: 04/01/2025



                                       OFFICE OF THE CLERK

PATRICIA S. DODSZUWEIT       UNITED STATES COURT OF APPEALS                    TELEPHONE
                                  21400 UNITED STATES COURTHOUSE              215-597-2995
         CLERK                           601 MARKET STREET
                                     PHILADELPHIA, PA 19106-1790
                                 Website: www.ca3.uscourts.gov

                                          April 1, 2025




                                       NOTICE


       Pursuant to 3d Cir. L.A.R. 26.1, a document is timely filed if received by 5:00
p.m. ET on the last day for filing unless the Court sets a different time, the document
has been submitted by an inmate pursuant to Fed. R. App. P. 25(a)(2)(A)(iii), or
otherwise specified in L.A.R. 26.1. See Order Adopting and Amending Local
Appellate Rules or access the Court's website for information.
